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          Ex. #           Exhibit Name                              Designation
          1               March 25, 2019 Expert Report of           Motion to Seal Pending re
                          Meredith Rosenthal                        Redactions
          2               May 4, 2019 Deposition Transcript of      Motion to Seal Pending re
                          Meredith Rosenthal                        Redactions
          3               March 25, 2019 Expert Report of           None
                          Katherine Keyes
          4               March 25, 2019 Expert Report of Anna      None
                          Lembke
          5               March 25, 2019 Expert Report of Mark      None
                          A. Schumacher
          6               April 29, 2019 Deposition Transcript of   None
                          Katherine Keyes
          7               May 9, 2019 Deposition Transcript of      None
                          Craig J. McCann
          8               March 25, 2019 Expert Report of Craig     Motion to Seal Pending re
                          J. McCann                                 Redactions
          9               April 15, 2019 Expert Report of James     Motion to Seal Pending re
                          E. Rafalski                               Redactions
          10              May 14, 2019 Deposition Transcript of     None
                          James E. Rafalski
          11              June 13, 2019 Deposition Transcript of    None
                          Lacey R. Keller
          12              May 17, 2019 Deposition Transcript of     None
                          Seth B. Whitelaw
          13              March 25, 2019 Expert Report of David     Motion to Seal Pending re
                          Cutler                                    Redactions
          14              April 26, 2019 Deposition Transcript of   None
                          David Cutler
          15              March 25, 2019 Public Nuisance Expert     None
                          Report of Thomas McGuire




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